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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


  WILLIAM REINHOLD,

         Plaintiff,
   v.
                                                          Case No. 6:21-cv-861
  DELI MANAGEMENT, INC.,
  d/b/a JASON’S DELI,

         Defendant.



    JOINT MOTION FOR STIPULATED JUDGMENT APPROVING THE
               PARTIES’ SETTLEMENT AGREEMENT

        Plaintiff, William Reinhold (“Plaintiff”) and Defendant Deli Management,

Inc., d/b/a Jason’s Deli (“Defendant”) (together, the “Parties”), by and through

their respective undersigned counsel, hereby file this Joint Motion for Stipulated

Judgment Approving the Parties’ Settlement Agreement. In support of their joint

motion, the Parties state as follows:

   I.      STATEMENT OF FACTS AND SUMMARY OF PROCEEDINGS

        Plaintiff worked for Defendant at company-owned restaurant locations

within this district as an Assistant Manager 3A or 2A (“AM 3A” and “AM 2A”),

below the in-store management levels of Assistant Manager 1A and General

Manager. (Doc. 1, ¶ 5-6). Plaintiff Reinhold worked as an Assistant Manager


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2A/3A position for 35 compensable weeks from November 1, 2016, through

August 29, 2017.

      Plaintiff initially filed his unpaid overtime claims against Defendant as an

opt-in Plaintiff in Florence v. Deli Management, Inc., d/b/a Jason’s Deli (No.

1:18- cv-04303-SCJ) (N.D. Ga) (“Florence”). Plaintiff opted-into that action on

March 12, 2019. (See Florence [Doc. 47-1], at 11).

      The named and opt-in plaintiffs in Florence obtained discovery from

Defendant regarding its policies and practices, including extensive document

production and conducting a Rule 30(b)(6) deposition of Defendant’s designated

representatives. On March 8, 2021, the Court in Florence granted Defendant’s

motion to decertify the collective and dismissed without prejudice the claims of

the opt-in plaintiffs, with tolling through March 28, 2021. Plaintiff then refiled his

claims raised in the Florence action in this Court on May 18, 2021, seeking to

recover alleged unpaid minimum wages, overtime pay, liquidated damages,

prejudgment interest, costs, and attorneys’ fees under the Fair Labor Standards

Act (“FLSA”), 29 U.S.C. § 201 et seq., alleging that he was misclassified as exempt

from the FLSA’s overtime pay requirements. (Doc. 1).




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   II.      THE AGREEMENTS

         After extensive settlement negotiations between counsel by telephone and

electronic mail, on June 6, 2022, Plaintiff Reinhold and Defendant verbally

entered into a Settlement Agreement to fully and finally resolve Plaintiff’s claims.

         On June 14, 2022, the Parties filed a Joint Notice of Settlement with the

Court stating that they were in the process of entering into a Settlement

Agreement. (Doc. 25). The Court directed the Parties to file a Motion for

Approval of the Settlement Agreement. (Doc. 26).

         On June 29, 2022, the Parties fully executed their Settlement Agreement.

See Exhibit 1, Settlement Agreement.

         The Parties now request this Court’s entry of an entry of judgment

approving the Parties’ agreement.

   III.     ARGUMENT AND CITATION OF AUTHORITY

         In order to have an enforceable release of FLSA claims in this Circuit,

either the Court or the U.S. Department of Labor must review and approve

agreements settling alleged violations of the FLSA. Lynn’s Food Stores, Inc. v.

United States, 679 F.2d 1350, 1353 (11th Cir. 1982) (claims for back wages arising

under the FLSA may be settled or compromised only with the approval of the

Court or the Secretary of Labor). Because the Parties’ agreement was not made


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under the supervision of the Secretary of Labor, “it is valid only if the district

court enter[s] a ‘stipulated judgment’ approving [them].” Id.

       In order to approve a settlement of overtime claims proposed by an

employer and an employee, a court must determine that the settlement is a “fair

and reasonable resolution of a bona fide dispute” of the claims raised pursuant to

the FLSA. Lynn's Food, 679 F.2d at 1355. If a settlement in an employee FLSA suit

reflects a “reasonable compromise over issues,” such as FLSA coverage or

computation of back wages that are “actually in dispute,” the court may approve

the settlement “in order to promote the policy of encouraging settlement of

litigation.” Id. at 1354.

       Here, the agreement is limited in scope and does not impose any type of

confidentiality, non-disparagement, non-rehire, or any other provision that has

given courts pause in approving FLSA agreements. See, e.g., Nichols v. Dollar

Tree Stores, Inc., No. 1:13-CV-88 (WLS), 2013 U.S. Dist. LEXIS 156754 (M.D. Ga.

Nov. 1, 2013) (denying approval of FLSA settlement due to pervasive general

release, confidentiality, non-disparagement, no-rehire, and similarly onerous

provisions).

          a. APPROVAL OF PAYMENT TO PLAINTIFF REINHOLD

       “There is a strong judicial policy in favor of settlement, in order to

conserve scarce resources that would otherwise be devoted to protracted
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litigation.” See Murchison v. Grand Cypress Hotel Corp., 13 F.3d 1483, 1486 (11th

Cir. 1994) (noting that the Eleventh Circuit Court of Appeals “favor[s] and

encourage[s] settlements in order to conserve judicial resources.”). The

endorsement of a proposed FLSA settlement by both parties is a “factor that

weighs in favor of approval” of an FLSA settlement because “counsel for each

side is experienced in this type of litigation.” Bonetti v. Embarq Mgmt. Co., 715 F.

Supp. 2d at 1227.


      Throughout this litigation in both actions, Defendant has taken the

position that Plaintiff was properly classified as exempt under the executive and

administrative exemptions when he worked as AM 2A/3As, but even if held to

be non-exempt, Defendant challenges Plaintiff’s estimated hours worked, asserts

that Plaintiff could not establish a “willful” violation in order to add a third year

to his maximum possible recovery period, and contends that even if Plaintiff

prevailed, any unpaid damages would have to be calculated by its proposed

half-time method (dividing salary by all hours worked, with overtime premiums

owed then calculated at only half of that regular rate) based on its contention that

Plaintiff’s salary was intended to compensate him for all hours worked each

week. Obviously, this misclassification case presented the risk that the Court




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might rule that Plaintiff was exempt from the overtime laws, based on multiple

arguments by Defendant.

      On the other hand, as an example of Plaintiff’s additional litigation risks in

this action, it has long been established that the burden is on the plaintiff to

prove willfulness. Carr v. AutoZoner, LLC, 501 F. Supp. 3d 1237, 1243 (N.D. Ala.

2020); see also Alvarez Perez v. Sanford-Orlando Kennel Club, Inc., 515 F.3d

1150, 1162-63 (11th Cir. 2008). Thus, if this Court issued the same ruling on this

issue in this case, Plaintiff Reinhold’s recovery would be completely barred as all

of his recoverable weeks arose within the third year of the limitations period that

would only be available to him if he was able to prove that a FLSA violation was

willful.

      Throughout this process, Plaintiff has maintained diametrically opposing

positions to Defendant’s contentions on these litigation issues. Plaintiff has

consistently asserted that he was misclassified as an AM working for Defendant,

because, inter alia, he claims that he spent the majority of his time performing the

same manual tasks as hourly employees, that this work was his primary duty,

and they he lacked the requisite managerial authority. Moreover, he routinely

worked more than 40 hours per week but was not paid overtime. See, e.g.,

Morgan v. Family Dollar Stores, 551 F.3d 1233 (11th Cir. 2008) (affirming jury

verdict finding retail Store Managers who spent up to 90% of their working time
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on non-exempt-type duties were willfully misclassified as exempt, extending

recovery period to third year for willful violation). The Parties’ agreement

therefore resolves bona fide disputes over potential liability and available

damages.

                i. APPROVAL OF THE SETTLEMENT AGREEMENT

      Per the Settlement Agreement, Plaintiff Reinhold will be paid a similar per

eligible third year workweek that the named plaintiff in the decertified Florence

action was paid per eligible third year workweek in the FLSA settlement that

was previously approved by a Georgia district court. (See Florence Order [Doc.

134] and Stipulated Judgment [Doc. 135]).

      Plaintiff received similar weekly salaries and alleged similar working

overtime hours as compared to the named plaintiff in the Florence action.

Plaintiff’s recovery under this Settlement Agreement thus falls well within the

range of reasonable recoveries for FLSA settlement approval the Parties

addressed above.

      Further, other opt-in plaintiffs to the original Florence matter have had

their settlement agreements approved. For example, in Ashley Godshalk and

Peter Hershaft v. Deli Management, Inc. (No.: 5:21-cv-143), the District Court for

the Eastern District of North Carolina approved a settlement agreement

providing plaintiffs an average of 77% of their total claimed unpaid overtime and
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liquidated damages. (See Godshalk [Doc. 21]). In Brock Hammons v. Deli

Management, Inc. (No.: 21-cv-01677), the District Court for the Northern District

of Illinois approved a settlement agreement providing plaintiff 69% of his total

claimed unpaid overtime and liquidated damages. (See Hammons [Doc. 28]). In

Hattiana Johnson v. Deli Management, Inc. (No.: 1:21-cv-01258-MHC), the

District Court for the Northern District of Georgia approved a settlement

agreement providing plaintiff 71% of her total claimed unpaid overtime and

liquidated damages. (See Johnson [Doc. 19]). Finally, in Matthew Urban and Van

Warner v. Deli Management, Inc. (No: 3:21-cv-00209), the District Court for the

Western District of North Carolina approved a settlement agreement providing

Plaintiff Urban 75% of his total claimed unpaid overtime and liquidated

damages. (See Urban [Doc. 29]).

      Here, the Parties have taken a similar approach as they did in the

preceding matters, and this shows that Plaintiff Reinhold’s Settlement

Agreement is a fair and reasonable resolution of the Parties’ bona fide disputes.

Plaintiff Reinhold will receive approximately 75% of his overtime back wages for

the maximum three-year limitations period, doubled for full 100% liquidated

damages on the back wages amount paid, that would be due for an average 10

overtime hours worked for the full (non-leave) eligible weeks worked, as


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calculated utilizing Defendant’s proposed (but disputed) retroactive half-time

damages calculation method.

      Here, the damage calculations comprise a reasonable compromise over the

issues Plaintiff alleged in both the Florence case and this litigation.

          b. APPROVAL OF PAYMENT OF FEES AND COSTS

      The FLSA requires that the Court “shall, in addition to any judgment

awarded to the plaintiff or plaintiffs, allow a reasonable attorneys’ fee to be paid

by the defendant, and costs of the action.” 29 U.S.C. § 216(b). Fee awards are

therefore mandatory for prevailing plaintiffs in FLSA cases. Kreager v. Solomon

& Flanagan, P.A., 775 F.2d 1541, 1542 (11th Cir. 1985). Here, the Parties

specifically agreed upon the amount to be paid to Plaintiff’s counsel.

      The total amount paid to Plaintiff’s counsel – $7,500 – is in full compromise

for all work done in this matter and in Florence. Plaintiff’s claims were intensely

litigated, vigorously defended, and hotly disputed throughout three years of

adversarial litigation before the Parties reached this agreement. Plaintiff agreed

as to the reasonableness of this number. Further, the reasonableness of Plaintiff’s

net recovery from his settlement demonstrates that Plaintiff’s net recovery was

not adversely affected by the amount paid for fees and costs incurred on

Plaintiff’s individual claim throughout over three years of disputed litigation.


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       Moreover, Defendant has contractually agreed to, and does not oppose the

 amount (or reasonableness of the amount) of, the attorneys’ fees, costs, and

 expenses to be paid to Plaintiff’s counsel. See Dail v. George A. Arab Inc., 391 F.

 Supp. 2d 1142, 1146 (M.D. Fla. 2005) (holding that because defendant joined in

 the motion for approval of the settlement amounts, “[t]he Court, … accepts the

 Parties’ stipulation as to the reasonableness of the attorneys’ fees and costs.”).

 Again, the amount paid for attorneys’ fees, costs, and expenses is also reasonable

 because Plaintiff’s claims were intensely litigated, vigorously defended, and

 hotly disputed throughout over three years of litigating in two federal court

 actions before the Parties resolved their individual claims here. See, e.g., Lynn's

 Food Stores, 679 F.2d at 1353-54).

       Here, the Court is not being asked to decide for the Parties the amount of

 attorneys’ fees or costs. In an individual FLSA claim, where separate amounts are

 set forth for the payments of unpaid wages and payments for attorneys’ fees, the

 Court has greater flexibility in exercising its discretion in determining the

 reasonableness of the attorneys’ fee. Dail, 391 F. Supp. 2d at 1146.

       Finally, because the amount of attorneys’ fees and costs to be paid to

 Plaintiff’s counsel under this agreement constitutes a reduction from the lodestar

 amount of attorneys’ fees incurred and litigation costs advanced in litigating


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 Plaintiff’s individual claims in Florence and subsequently in this refiled action,

 the amount to be paid for attorneys’ fees and costs is reasonable. Here, the

 Parties agree as to the fairness of this agreement and ask that the Court approve.

    IV.   CONCLUSION

       For the reasons set forth above and for good cause shown, the Parties

 respectfully request that this Court enter an order approving the Parties’

 Settlement Agreement and entering Judgment in favor of Plaintiff in the amount

 stated above.

       Respectfully submitted this 14th day of July, 2022.

  /s/ Christopher Timmel                       /s/ Christopher Bentley
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                          CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on July 14, 2022, the foregoing was

 electronically filed with the Clerk of Court using the CM/ECF system, which will

 automatically send email notification of such filing to all counsel of record.


                                         /s/ Christopher M. Bentley
                                         Christopher M. Bentley




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